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                                    10
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                                    11
                                                               UNITED STATES DISTRICT COURT
     IRVINE, CA 92612-4414




                                    12
                                                             CENTRAL DISTRICT OF CALIFORNIA
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                                    15   TCJ I, LLC, a Delaware limited liability   Case No. __________
                                         company,
                                    16
                                                             Plaintiff,
                                    17                                              COMPLAINT FOR:
                                                        v.
                                    18                                              1) BREACH OF CONTRACT
                                       TRIMED MEDICAL WHOLESALERS,                  2) BREACH OF GUARANTY
                                    19 INC., a California corporation,              3) JUDICIAL FORECLOSURE
                                       RICHARD T. KAYSERYAN, an                     4) JUDICIAL FORECLOSURE
                                    20 individual, and VERJINE YESAIAN,             5) APPOINTMENT OF RECEIVER
                                       and individual
                                    21
                                                             Defendants.
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                                                                             COMPLAINT
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                                     1            Plaintiff TCJ I, LLC (“Plaintiff” or “TCJ”), for its complaint against
                                     2   defendants Trimed Medical Wholesaler, Inc. (“Trimed”) Richard T. Kayseryan
                                     3   (“Kayseryan”), and Verjine Yesaian (collectively, “Defendants”), alleges as follows:
                                     4                               JURISDICTION AND VENUE
                                     5            1.    This Court has subject matter jurisdiction over all claims for relief
                                     6   pleaded herein pursuant to 28 U.S.C. § 1332(a)(1). TCJ is a limited liability
                                     7   company organized under Delaware law and headquartered in New York. TCJ’s
                                     8   sole owner and member is The Credit Junction Holdings, Inc., which is incorporated
                                     9   in Delaware and has its principal place of business in New York. The Defendants
                                    10   are citizens of the state of California. The amount in controversy exceeds $75,000
                                         because, as pleaded herein, Defendants are obligated to pay no less than $3,000,000
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                                    12   to TCJ pursuant to the loan agreements and guaranty signed by Kayseryan.
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                                    13            2.    The Court has personal jurisdiction over Defendants because they are
                                    14   domiciled in this judicial district.
                                    15            3.    Venue in this district is proper under 28 U.S.C. § 1391(b) because all
                                    16   the Defendants reside in this judicial district and property subject to the dispute is
                                    17   located in this judicial district.
                                    18                                 SUMMARY OF THE CASE
                                    19            4.    This is an action to enforce the rights and remedies of a secured lender,
                                    20   Plaintiff TCJ, under controlling loan documents, following numerous defaults by the
                                    21   borrower, Trimed, and its guarantor, Richard Kayseryan. As described below,
                                    22   Trimed is violating those loan documents by withholding financial information
                                    23   about its business and failing to arrange for the Deposit Account Control
                                    24   Agreement(s) (“DACA”) that Plaintiff needs to protect its cash collateral for the
                                    25   $3,000,000 credit line that Plaintiff provided to Trimed.
                                    26            5.    Plaintiff has learned Trimed and its President and CEO, Kayseryan,
                                    27   were charged by the United States Attorney for the Central District of California for
                                    28   numerous federal crimes involving Trimed’s business, including a detailed scheme
                                         10151936.5                                   1
                                                                                 COMPLAINT
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                                     1   involving what the Department of Justice has described as Trimed writing bogus
                                     2   checks and paying cash to “shell businesses,” all part of a conspiracy to evade
                                     3   financial-institution currency-reporting requirements for transactions of $10,000 or
                                     4   more. Plaintiff has also discovered that Kayseryan has been indicted for other
                                     5   crimes relating to Trimed, including fraud and perjury.
                                     6            6.    TCJ brings this action to protect its rights as a secured lender.
                                     7                                           PARTIES
                                     8            7.    Plaintiff TCJ I, LLC is a limited liability company organized under the
                                     9   laws of the State of Delaware with its principal place of business at 132 West 31st
                                    10   Street, Suite 1301, New York, New York 10001. TCJ is an affiliate of, and a
                                         successor-in-interest to, The Credit Junction Holdings, Inc., which provides asset-
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                                    12   based financing and financial services in towns, cities and regions across the United
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                                    13   States and Canada.
                                    14            8.    Defendant Trimed Medical Wholesalers, Inc. is, on information and
                                    15   belief, a corporation organized under the laws of the State of California with its
                                    16   principal place of business at 52 East Santa Anita Avenue, Burbank, CA 91502.
                                    17   Trimed is, on information and belief, a wholesaler of medical products. Trimed is
                                    18   also the borrower under the loan documents described below.
                                    19            9.    Defendant Richard T. Kayseryan is a natural person residing at 604
                                    20   South Sunset Canyon Drive, Burbank, California 91501. Kayseryan is, on
                                    21   information and belief, the President and Chief Executive Officer of Trimed.
                                    22   Kayseryan is also the guarantor of Trimed’s obligations to Plaintiff TCJ I.
                                    23            10.   On information and belief, Defendant Verjine Yesaian is a natural
                                    24   person residing at 604 South Sunset Canyon Drive, Burbank, California 91501. She
                                    25   is the spouse of Kayseryan and the co-signatory of a deed of trust provided to TCJ to
                                    26   secure the guaranty provided by Kayseryan.
                                    27
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                                                                                 COMPLAINT
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                                     1            11.    TCJ is informed and believes and thereon alleges that at all times
                                     2   herein mentioned, each of the Defendants, was and is the agent, servant, employee,
                                     3   representative and/or alter ego of the remaining defendants and, in doing the things
                                     4   hereinafter alleged, was acting within the scope of his, her or its authority as such
                                     5   agent, servant, employee, representative and/or alter ego, with the knowledge,
                                     6   consent, permission and ratification of all remaining defendants.
                                     7                                 FACTUAL ALLEGATIONS
                                     8            The Controlling Loan Documents
                                     9            12.    On or about September 26, 2016, The Credit Junction Holdings, Inc.
                                    10   and Trimed, and Kayseryan entered into and executed several loan documents,
                                         including (but not limited to): the Master Business Loan Agreement dated as of
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                                    12   September 26, 2016 (the “Master Agreement”), the Commercial Security
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                                    13   Agreement dated as of September 26, 2016 (the “Security Agreement”), a
                                    14   Commercial Promissory Note September 26, 2016 (the “Note”), and a Continuing
                                    15   Guaranty dated as of September 26, 2016 (the “Guaranty”) (all together, the “Loan
                                    16   Documents”). True and correct copies of the Master Agreement, the Security
                                    17   Agreement, the Note, and the Guaranty are attached as Exhibits A through D,
                                    18   respectively.
                                    19            13.    Pursuant to the Loan Documents, The Credit Junction Holdings agreed
                                    20   to extend financing to Trimed, with an initial advance of $1,000,000 made to
                                    21   Trimed under a line of credit on the closing of the Master Agreement. As recited in
                                    22   Section 4(a)(2) of the Master Agreement, Trimed could also have potential access to
                                    23   additional funds, which with the initial advance could total up to $3,000,000.
                                    24            14.    Pursuant to Section 2.1 of the Note, the Parties agreed that “[i]nterest
                                    25   will be charged from the date of the funding of the Initial Advance, which will occur
                                    26   on the date hereof, and on each Additional Advance of a Loan, at the rate of sixteen
                                    27   percent (16%) per year until the principal, together with all accrued and unpaid
                                    28   interest of all Loans, is paid in full.” Pursuant to Section 8 of the Note, Trimed
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                                                                                  COMPLAINT
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                                     1   agreed that in the event of a continuing default, such as the defaults that have
                                     2   occurred described below, “the interest rate [on all outstanding balances] will be
                                     3   increased by five percent (5%) above the interest rate set forth in Section 2[.]”
                                     4   Thus, Trimed is subject to a default interest rate of 21% in the event of a continuing
                                     5   default, as has happened here.
                                     6            15.   Pursuant to Section 7 of the Note, “[u]pon the occurrence and during
                                     7   the continuance of an Event of Default, Lender may require, without notice or
                                     8   demand, that [Trimed] repay the entire amount of the Loan at once. Even if, during
                                     9   the continuance of an Event of Default, Lender does not require [Trimed] to pay
                                    10   immediately in full as described above, Lender will still have the right to do so at
                                         any other time that an Event of Default is continuing. [Trimed] agrees to pay all
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                                    12   costs of collection and enforcement of this Note, including (but not limited to)
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                                    13   reasonable attorneys’ fees, which include the costs to Lender of the services of its
                                    14   in-house counsel.” Plaintiff therefore has the right to demand full payment on the
                                    15   outstanding loan balance in case of a continuing default by Trimed, and such costs
                                    16   incurred in collecting on and enforcing the note, in such instance, shall be paid by
                                    17   Trimed.
                                    18            16.   In addition, pursuant to Section 1 of the Security Agreement, Trimed
                                    19   granted an “unconditional first priority security interest in, the Collateral [as defined
                                    20   at-length in Section 2 of the Security Agreement] to secure payment of all
                                    21   Indebtedness from [TCJ] to Lender and performance of all other obligations under
                                    22   the [Master Agreement], this Security Agreement and the other Related Documents .
                                    23   . .” By way of example, but not limitation, the Collateral included in the blanket
                                    24   security interest included “all of Grantor’s present and future right, title and interest
                                    25   in and to any and all property of [Trimed], of any kind or description, real or
                                    26   personal, tangible or intangible, wherever now or hereafter located or whether now
                                    27   existing or hereafter arising or acquired[.]” The Collateral also includes (but was
                                    28

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                                                                                COMPLAINT
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                                     1   not limited to) bank accounts, accounts receivable, warehoused inventory and all of
                                     2   Trimed’s assets of any kind.
                                     3            17.   Under the Guaranty that Kayseryan executed, he agreed (with the
                                     4   consent of his wife, who signed to give that consent) to “unconditionally and
                                     5   irrevocably guarant[ee] to Lender . . . (a) the due and prompt payment . . . of Trimed
                                     6   . . . to Lender and (b) the due and prompt performance of the Obligations of
                                     7   [Trimed] to Lender.” Thus, in the event of default by Trimed, Kayseryan is
                                     8   personally liable for any and all obligations of Trimed.
                                     9            18.   The Master Agreement also contained several critical post-closing
                                    10   covenants for the protection of TCJ. Among them was Section 4(c), which states
                                         that the Parties “shall have entered into and executed a deposit account control
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                                    12   agreement (“DACA”), in form and substance acceptable to Lender, which shall
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                                    13   provide that Lender has ‘control’ (as defined in Article 9 of the Uniform
                                    14   Commercial Code) of all accounts of [Trimed] with Bank as set forth in the
                                    15   DACA.” In addition to the Master Agreement, Richard Kayseryan in his capacity as
                                    16   President and CEO of Trimed, executed a Terms and Conditions letter (the “Terms
                                    17   Letter”), reiterating that as a condition of the Loan Documents, The Credit Junction
                                    18   Holdings required the “execution of [a] Deposit Account Control Agreement
                                    19   covering all of [Trimed]’s bank accounts.” A true and correct copy of the Terms
                                    20   Letter is attached as Exhibit E.
                                    21            19.   Having control over a borrower’s account through a DACA or
                                    22   otherwise is critical protection for a lender like Plaintiff, since control of this kind
                                    23   can sometimes be a requirement for perfection of a security interest in cash
                                    24   collateral of this kind. In addition, Plaintiff’s security interest was duly perfected
                                    25   through the filing of an appropriate UCC-1 Financing Statement, a true and correct
                                    26   copy of which is attached as Exhibit F.
                                    27            20.   Because Plaintiff’s Collateral was comprised of Trimed’s assets, and
                                    28   given that Trimed’s ability to repay was based on the details of Trimed’s business,
                                         10151936.5                                   5
                                                                                 COMPLAINT
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                                     1   the Master Agreement requires Trimed to provide various financial documents,
                                     2   reports and information on a regular basis. For example, Section 6(c)(1) of the
                                     3   Master Agreement requires Trimed to provide:
                                     4                   a quarterly balance sheet and income statement within 30 days of the
                                     5                     end of each quarter
                                     6                   monthly balance sheets and income statements within 20 days after
                                     7                     month-end;
                                     8                   quarterly sales tax remittance forms and quarterly federal tax returns on
                                     9                     Form 941 within 45 days of the end of each quarter;
                                    10                   a signed Borrowing Base Certificate for within 10 days of the end of
                                                           each month;
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                                                         monthly bank statements and weekly bank snapshots;
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                                    13                   detailed aging reports for Trimed’s accounts receivable and detailed
                                    14                     aging reports for Trimed’s accounts payable for January and February
                                    15                     2017.
                                    16            21.      In addition, Section 6(l) of the Master Agreement gives TCJ the right to
                                    17   inspect and audit any and all of the Collateral and to inspect and audit Trimed’s
                                    18   other properties, books, accounts and records “at any reasonable time.”
                                    19            22.      Trimed also executed a Warehouseman Agreement dated November
                                    20   22, 2016 (the “Warehouse Agreement”), which under Section 5 entitles TCJ to enter
                                    21   the warehouse where Trimed stored its goods for the purpose of “examining,
                                    22   removing, taking possession of or dealing with” any of Trimed’s goods, with
                                    23   removal being permitted subject only to the warehouse being paid any fees due. A
                                    24   true and correct copy of the Warehouse Agreement is attached as Exhibit G.
                                    25            23.      Plaintiff TCJ became the successor-in-interest to all rights of The
                                    26   Credit Junction Holdings under the Loan Documents when on or about September
                                    27   30, 2016, in accordance with: Section 10(f) of the Master Agreement; Section 8 and
                                    28   14 of the Guaranty; Section 1 and 14 of the Note; and Section 9(a) of the Security
                                         10151936.5                                     6
                                                                                   COMPLAINT
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                                     1   Agreement, The Credit Junction Holdings assigned its “right, title, and interest” in
                                     2   the Loan Documents with Trimed, to TCJ, by way of a Loan Purchase Agreement
                                     3   dated September 30, 2016 (the “Purchase Agreement”). A true and correct copy of
                                     4   the Purchase Agreement is attached as Exhibit H.
                                     5            24.      On November 16, 2016, as security for the Guaranty, Defendant
                                     6   Kayseryan and his spouse, Verjine Yesaian, executed a deed of trust for the benefit
                                     7   of TCJ, which was recorded in the Official Records, County of Los Angeles on
                                     8   November 23, 2016, as document number 20161479853. The Deed of Trust secures
                                     9   a lien against Kayseryan’s residence, which is located at 604 S. Sunset Canyon
                                    10   Drive in Burbank California (the “Property”). A true and correct copy of the Deed
                                         of Trust is attached hereto as Exhibit I.
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                                    12            25.      Pursuant to Section B(6)(d) of the Deed of Trust, TCJ may, upon
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                                    13   Kayseryan’s default upon the Guaranty, “bring a court action to foreclose this Deed
                                    14   of Trust or to enforce its provisions or any of the Obligations secured by this Deed
                                    15   of Trust.”
                                    16            The Defaults by Defendants Trimed and Kayseryan
                                    17            26.      Despite written demand by Plaintiff, Defendants have remained in
                                    18   breach of the Loan Documents and in disregard of Plaintiff’s most basic rights as
                                    19   lender.
                                    20            27.      By letter and notice dated March 4, 2017 (the “March Default Notice”),
                                    21   TCJ , through counsel, notified Defendants of their numerous continuing defaults
                                    22   under the Loan Documents. A true and correct copy of the March Default Notice is
                                    23   attached as Exhibit J. Pursuant to the March Default Notice, TCJ gave notice of
                                    24   breaches that included, but were not limited to, the following breaches of the Master
                                    25   Agreement:
                                    26                   Trimed had failed move its depository accounts to a financial
                                    27                     institution willing to provide a DACA for TCJ’s protection in breach of
                                    28                     Section 4 (c);
                                         10151936.5                                    7
                                                                                   COMPLAINT
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                                     1                   Trimed did not provide quarterly balance sheet and income statement
                                     2                     for Fourth Quarter 2016 within 30 days of the end of that quarter in
                                     3                     breach of Section 6(c)(1)(i)(B);
                                     4                   Trimed failed to provide TCJ with monthly balance sheets and income
                                     5                     statements for December 2016 and January 2017 within 20 days after
                                     6                     month-end in breach of Section 6(c)(1)(i)(C);
                                     7                   Trimed failed to provide quarterly sales tax remittance forms and
                                     8                     quarterly federal tax returns for Fourth Quarter 2016 on Form 941
                                     9                     within 45 days of the end of that quarter in breach of Section
                                    10                     6(c)(1)(ii);
                                                         Trimed had breached Section 6(c)(1)(iv) and (v), by failing to provide a
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                                    12                     signed Borrowing Base Certificate for January 2017 within 10 days of
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                                    13                     the end of that month; and
                                    14                   Trimed failed to provide bank statements for December 2016, January
                                    15                     2017, weekly bank snapshots for February 2017, detail aging reports
                                    16                     for Trimed’s accounts receivable for February 24, 2017 and detail
                                    17                     aging reports for Trimed’s accounts payable for January and February
                                    18                     2017 in violation of Section 6(c)(1)(v).
                                    19            28.      As a result of these breaches, TCJ declared that Events of Default by
                                    20   Trimed had occurred under Sections 8(a)(3) and 8(a)(6) of the Master Agreement.
                                    21   Accordingly, pursuant to Section 8(b) of the Master Agreement, all of TCJ’s
                                    22   contractual obligations to Trimed were declared terminated, including any
                                    23   obligations of TCJ under any of the Loan Documents. In addition, all of Trimed’s
                                    24   Indebtedness to Plaintiff, including (but not limited to) the balance of $3,000,000
                                    25   loaned under the credit line to Trimed, became immediately due and payable,
                                    26   pursuant to Section 8(b) of the Master Agreement and Section 7 of the Note.
                                    27   Trimed also became liable to Plaintiff for interest at the Default Interest Rate of
                                    28   21%, pursuant to Section 8 of the Note, as well as liable for Plaintiff’s attorneys’
                                         10151936.5                                     8
                                                                                   COMPLAINT
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                                      1   fees and other expenses, pursuant to Section 10(g) of the Master Agreement and
                                      2   Section 7 of the Note.
                                      3            29.   In addition, as a result of the Events of Default, Plaintiff is entitled to
                                      4   exercise any and all rights, options and remedies under the Loan Documents and/or
                                      5   under the Uniform Commercial Code. By way of example (but not limitation), TCJ
                                      6   now has the right, under Section 6 of the Security Agreement, to take possession of
                                      7   all tangible personal property included in the Collateral (as defined in the Security
                                      8   Agreement), as well as the right to collect the accounts receivable of Trimed by
                                      9   notifying Trimed’s account debtors to make payments directly to Plaintiff.
                                     10            30.   Furthermore, as a result of Trimed’s defaults, Trimed’s President and
                                          Chief Executive Officer, defendant Kayseryan, was in default under the Guaranty of
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                                     12   Trimed’s Obligations. Thus, Plaintiff has a right to recover from defendant
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                                     13   Kayseryan all remedies, including foreclosure of the Deed of Trust and full
                                     14   repayment of all of the Obligations of Trimed owed to Plaintiff.
                                     15            31.   Instead of complying with their obligations when given the opportunity
                                     16   to do so, Defendants, through counsel, Robert Crook, Esq., repudiated their
                                     17   contractual obligations, refusing to comply with the supposedly “cumbersome” loan
                                     18   requirements to which Defendants had agreed. Crooks response to the demand
                                     19   letter claimed that TCJ had made “unreasonable requests;” that Trimed “is not a
                                     20   company that is in the business of providing a variety of monthly, quarterly, and
                                     21   annual reports and audits to satisfy apparent, nonstated [sic] concerns of its lending
                                     22   institution; and that “[o]ngoing questions about TriMed’s receivables, expenditures
                                     23   including tax payments, and other sensitive business questions are not appropriate . .
                                     24   . .” See, e.g., Crook’s letter dated February 28, 2017, a true and correct copy of
                                     25   which is attached as Exhibit K.
                                     26            Plaintiff’s Discovery of the Indictment of Kayseryan Relating to Trimed
                                     27            32.   As if these multiple breaches by Defendants were not enough, in
                                     28   preparing to file this action, Plaintiff discovered that defendant Kayseryan has been
                                          10151936.5                                    9
                                                                                   COMPLAINT
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                                      1   indicted for numerous federal felonies directly related to Trimed’s business. Now, it
                                      2   has become clear why Defendants refuse to provide any regular financial reporting
                                      3   to Plaintiff.
                                      4            33.    Attached as Exhibit L is a true and correct copy of the now-unsealed
                                      5   Indictment dated April 6, 2017 handed down against defendant Kayseryan by a
                                      6   federal Grand Jury. Attached as Exhibit M is a true and correct copy of a news
                                      7   report on the criminal conspiracy with which Kayseryan and others are charged –
                                      8   and for which defendant Kayseryan is facing “up to 94 years in prison.”
                                      9            34.    All of the felonies with which defendant Kayseryan has been charged
                                     10   relate directly to the financial integrity (or lack thereof) of Trimed’s business and
                                          the Collateral that is Plaintiff’s security for the more than $3,000,000 that
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                                     12   Defendants owe TCJ. By way of example, the United States Government has
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                                     13   brought charges against Kayseryan for the following, which comes from page 7 of
                                     14   the Indictment attached as Exhibit L:
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                                                                                  COMPLAINT
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                                      1            35.   The Indictment also recounts (on p. 8) how Defendant Kayseryan was
                                      2   caught hiding almost half a million dollars of “laundered” funds in a hidden crawl
                                      3   space in his home:
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                                                   36.   Kayseryan has also been indicted for fraud and perjury, as detailed on
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                                     12   p. 25-26 of Exhibit L.
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                                     13            37.   Based on the foregoing, TCJ has good reason to enforce its rights under
                                     14   the Loan Documents to seek temporary restraints and a preliminary injunction to
                                     15   protect its rights, including its lien on the Collateral and its rights under the Deed of
                                     16   Trust while this action is pending.
                                     17                               FIRST CLAIM FOR RELIEF
                                     18         Breach of Contract: Note, Master Agreement, and Security Agreement
                                     19                                  (Against Defendant Trimed)
                                     20            38.   Plaintiff re-alleges and incorporates by this reference the allegations in
                                     21   Paragraphs 1 through 37.
                                     22            39.   Trimed and TCJ are parties to fully enforceable agreements: the Master
                                     23   Agreement, the Security Agreement, and the Note, whose terms are incorporated by
                                     24   this reference to Exhibits A-C attached hereto.
                                     25            40.   Plaintiff has fully performed its obligations under the Master
                                     26   Agreement, the Security Agreement, and the Note.
                                     27            41.   As set forth more fully above, Trimed is in continuing breach of the
                                     28   Master Agreement because of its failure to provide to TCJ, at any time:
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                                                                                  COMPLAINT
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                                      1                   Quarterly balance sheets and income statements for the Fourth Quarter
                                      2                     of 2016 and the First Quarter of 2017;
                                      3                   Monthly balance sheets and income statements for December 2016,
                                      4                     January 2017, February 2017, March 2017, and April 2017;
                                      5                   Quarterly sales tax remittance forms and quarterly federal tax returns
                                      6                     for the Fourth Quarter 2016 and First Quarter 2017 on Form 941;
                                      7                   A signed Borrowing Base Certificate for January 2017, February 2017,
                                      8                     March 2017, April 2017, and May 2017;
                                      9                   Bank statements for December 2016, January 2017, February 2017,
                                     10                     March 2017, April 2017, and May 2017;
                                                          Weekly bank snapshots for February 2017, March 2017, April 2017
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                                     12                     and May 2017;
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                                     13                   Detail aging reports for Trimed’s accounts receivable for the week
                                     14                     ending February 24, 2017, March 2017, April 2017, and May 2017;
                                     15                   Detail aging reports for Trimed’s accounts payable for October 2016,
                                     16                     November 2016, December 2016, January 2017, February 2017, March
                                     17                     2017, and May 2017; and
                                     18                   Perpetual inventory reports for Trimed’s inventory for February 2017,
                                     19                     March 2017, April 2017, and May 2017.
                                     20            42.      Trimed is also in continuing breach of its obligation to move its
                                     21   depository accounts to a financial institution willing to provide a Deposit Account
                                     22   Control Agreement for TCJ’s protection.
                                     23            43.      Under Sections 8(a)(3) and 8(a)(6) of the Master Agreement,
                                     24   Defendant Trimed’s actions and inactions constitute Events of Default.
                                     25            44.      Pursuant to Section 8(b) of the Master Agreement and Section 7 of the
                                     26   Note, TCJ has been damaged in the amount of no less than $3,000,000 which is
                                     27   currently due from Trimed under the Master Agreement and Note, including interest
                                     28   at the Default Interest Rate of 21%, pursuant to Section 8 of the Note.
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                                                                                    COMPLAINT
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                                      1            45.   Further, Trimed is liable to Plaintiff for all of Plaintiff’s attorneys’ fees,
                                      2   costs and expenses relating to this dispute, pursuant to Section 10(g) of the Master
                                      3   Agreement, Section 9(a) of the Security Agreement, and Section 7 of the Note.
                                      4                              SECOND CLAIM FOR RELIEF
                                      5                                      Breach of Guaranty
                                      6                                (Against Defendant Kayseryan)
                                      7            46.   Plaintiff re-alleges and incorporates by this reference the allegations in
                                      8   Paragraphs 1 through 45.
                                      9            47.   Kayseryan and TCJ are parties to a fully enforceable agreement: The
                                     10   Guaranty whose terms are fully incorporated hereto by reference to Exhibit D.
                                                   48.   Plaintiff has fully performed its obligations under the Guaranty.
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                                     12            49.   As more fully set forth above, Defendant Kayseryan promised in the
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                                     13   Guaranty to ensure “the due and prompt performance of the Obligations of [Trimed]
                                     14   to [Plaintiff]”.
                                     15            50.   Due to Trimed’s continuing Events of Default on several provisions of
                                     16   the Loan Documents, Defendant Kayseryan is liable to the full extent of Trimed’s
                                     17   liabilities, as those liabilities are more fully set forth above.
                                     18            51.   TCJ has been damaged in the amount of no less than $3,000,000 which
                                     19   is the amount currently owed by Trimed and guaranteed by Kayseryan.
                                     20            52.   Further, Kayseryan is liable to Plaintiff for all of Plaintiff’s attorneys’
                                     21   fees, costs and expenses relating to this dispute, pursuant to Section 9 of the
                                     22   Guaranty.
                                     23                                THIRD CLAIM FOR RELIEF
                                     24                                      Judicial Foreclosure
                                     25                         (Against Defendants Kayseryan and Yesaian)
                                     26            53.   TCJ re-alleges and incorporates by this reference the allegations in
                                     27   Paragraphs 1 through 52.
                                     28

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                                      1            54.   By the terms of the Deed of Trust, Kayseryan and Yesaian agreed TCJ
                                      2   may “bring a court action to foreclose this Deed of Trust or to enforce its provisions
                                      3   or any of the Obligations secured by this Deed of Trust.”
                                      4            55.   As alleged above, Defendants failed to perform under the Loan
                                      5   Documents, despite requests to do so by TCJ.
                                      6            56.   By reason of Defendants’ defaults under the Loan Documents as
                                      7   alleged above, TCJ is entitled to judicial foreclosure of the security interests granted
                                      8   by the Deed of Trust, a deficiency judgment, and for such other relief as requested
                                      9   herein.
                                     10            57.   Additionally the Section A(3) of the Deed of Trust provides for the
                                          recovery of attorneys’ fees. After Trimed defaulted on and breached the terms of
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                                     12   the Loan Documents, as alleged above, TCJ has employed attorneys to commence
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                                     13   and prosecute this action. TCJ is therefore entitled to the recovery of its reasonable
                                     14   attorneys’ fees under the terms of the Loan Documents, in an amount according to
                                     15   proof at trial.
                                     16                              FOURTH CLAIM FOR RELIEF
                                     17                                     Judicial Foreclosure
                                     18                                        (Against Trimed)
                                     19            58.   TCJ re-alleges and incorporates by this reference the allegations in
                                     20   Paragraphs 1 through 57.
                                     21            59.   Section 1 of the Security Agreement granted to “Lender a continuing
                                     22   and unconditional first priority security interest” in “the Collateral,” which, under
                                     23   Section 2, included but was not limited to “all of [Trimed’s] present and future right,
                                     24   title and interest in and to any and all [of its] property. . . .”
                                     25            60.   As more fully set forth above, pursuant to Section 6 of the Security
                                     26   Agreement and Section 8(b) of the Master Agreement, upon an Event of Default,
                                     27   TCJ is entitled to exercise all of its rights in the Collateral in which Trimed gave a
                                     28   security interest, including (but not limited to) the right to foreclose on and take
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                                      1   possession of the Collateral, to begin collecting on the accounts receivable of
                                      2   Trimed that were part of the Collateral, and to extinguish any junior liens that might
                                      3   exist on any of the Collateral.
                                      4            61.    As alleged above, Defendants failed to perform under the Loan
                                      5   Documents, despite requests to do so by TCJ.
                                      6            62.    By reason of Defendants’ defaults under the Loan Documents as
                                      7   alleged above, TCJ is entitled to judicial foreclosure of the security interests granted
                                      8   by the Security Agreement, and such other relief as requested herein.
                                      9            63.    Additionally, Section 9(a) of the Security Agreement provides for the
                                     10   recovery of attorneys’ fees. After Borrower defaulted on and breached the terms of
                                          the Loan Documents, as alleged above, TCJ has employed attorneys to commence
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                                     12   and prosecute this action. TCJ is therefore entitled to the recovery of its reasonable
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                                     13   attorneys’ fees under the terms of the Loan Documents, in an amount according to
                                     14   proof at trial.
                                     15                                FIFTH CLAIM FOR RELIEF
                                     16                  Request for Appointment of Receiver and Injunctive Relief
                                     17                                     (Against All Defendants)
                                     18            64.    TCJ re-alleges and incorporates by this reference the allegations in
                                     19   Paragraphs 1 through 63.
                                     20            65.    By the terms of the Master Agreement, Security Agreement, and Note,
                                     21   Defendants granted a security interest in the Collateral of Trimed, for the purpose of
                                     22   securing payment of the indebtedness evidenced owed to TCJ.
                                     23            66.    By the terms of the Deed of Trust, Defendants Kayseryan and Yesaian,
                                     24   granted a security interest in the Property to TCJ.
                                     25            67.    As set forth more fully above, Defendants are in default under the Loan
                                     26   Documents, which constitute defaults under the Security Agreement and Deed of
                                     27   Trust.
                                     28

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                                      1            68.   By the express terms of the Deed of Trust and the Security Agreement,
                                      2   and for the purpose of satisfying the obligations secured by those instruments, upon
                                      3   such defaults, TCJ is entitled to enter into and upon Defendants’ property and the
                                      4   improvements situated thereon and to take and hold the possession and control of
                                      5   the Property and the Collateral for the purpose of protecting and preserving the
                                      6   property secured by the Deed of Trust and Security Agreement and/or to sell the
                                      7   same for and on behalf of Plaintiff pursuant to the terms of the Deed of Trust and
                                      8   Security Agreement, and is entitled to apply the sums so collected, in accordance
                                      9   with the terms thereof as hereinabove quoted, and for such other purposes as are
                                     10   specified in the Deed of Trust and Security Agreement.
                                                   69.   TCJ is informed and believes and on that basis alleges that by virtue of
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                                     12   the pending criminal charges against Kayseryan and Trimed, Defendants are
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                                     13   incapable of and/or unwilling to cure their defaults.
                                     14            70.   TCJ is also informed and believes and on that basis alleges that, based
                                     15   on the allegations of a criminal scheme to take and secrete cash that should be used
                                     16   in the course of Trimed’s business, Defendants will take and secrete the Collateral
                                     17   meant to secure TCJ’s debt.
                                     18            71.   Because of the pending risk to TCJ posed by Defendants’ allegedly
                                     19   criminal conduct, Plaintiff seeks the immediate appointment of a receiver.
                                     20            72.   It is critical that a receiver be appointed at this time to marshal and
                                     21   safeguard the remaining property in which Defendants hold an interest to realize the
                                     22   remaining proceeds thereof, to open mail and recover all payments and sums for the
                                     23   benefit of TCJ, and do all the acts necessary to protect the property.
                                     24            73.   Unless a receiver is appointed, Defendants will continue to
                                     25   misappropriate, secrete, and mishandle property in which TCJ holds a security
                                     26   interest, all to the detriment and irreparable loss of TCJ.
                                     27            74.   TCJ has no speedy or adequate remedy at law and will suffer
                                     28   irreparable damage, injury, and harm unless appropriate equitable relief is granted.
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                                      1            75.      TCJ further seeks a temporary restraining order and preliminary and
                                      2   permanent injunctions, in aid of the receiver, restraining and enjoining Defendants,
                                      3   inclusive, and their agents, servants and employees, and all those acting in concert
                                      4   with them, and each of them, from engaging in or performing, directly or indirectly,
                                      5   any of the following acts:
                                      6                  a. Demanding, collecting, receiving, spending or in any way converting or
                                      7                     using any of the proceeds of the property to which TCJ holds a security
                                      8                     interest;
                                      9                  b. Hiding, secreting, transferring, selling, pledging, granting a security
                                     10                     interest in, or in any other matter disposing or hypothecating any of that
                                                            property;
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                                     12                  c. Transferring, concealing, destroying, defacing, or altering any of the
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                                     13                     instruments, documents, books, records, or any other writings, whether
                                     14                     in hard copy or maintained electronically, relating to the business of
                                     15                     Trimed;
                                     16                  d. Transferring directly or indirectly any interest by sale, shipment of
                                     17                     goods, pledge or grant of security interest, assignment, invoice or
                                     18                     encumbering in any manner the property in which plaintiff holds a
                                     19                     security interest, and any and all proceeds or products thereof; and
                                     20                  e. Withholding true copies of any and all documents and information
                                     21                     called for by the Master Agreement, including but not limited to
                                     22                     quarterly, monthly and annual balance sheets and income statements,
                                     23                     sales tax remittance forms and federal tax returns on Form 941, signed
                                     24                     Borrowing Base Certificates, bank statements and weekly bank
                                     25                     snapshots, detailed aging reports for Trimed’s accounts receivable and
                                     26                     accounts payable.
                                     27            WHEREFORE, TCJ prays for relief as set forth below.
                                     28

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                                                                                     COMPLAINT
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                                      1                                         PRAYER
                                      2            On the First Claim:
                                      3            1.   Compensatory damages;
                                      4            2.   Pre and post-judgment interest;
                                      5            3.   An award of attorneys’ fees, costs, and expenses as provided by the
                                      6   Loan Documents in an amount subject to proof; and
                                      7            4.   Such other and further relief as the Court deems just and proper.
                                      8            On the Second Claim:
                                      9            1.   Compensatory damages;
                                     10            2.   Pre and post-judgment interest;
                                                   3.   An award of attorneys’ fees, costs, and expenses as provided by the
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                                     12   Guaranty in an amount subject to proof; and
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                                     13            4.   Such other and further relief as the Court deems just and proper.
                                     14            On the Third Claim:
                                     15            1.   That the Deed of Trust be foreclosed;
                                     16            2.   That judgment be entered directly and that the Property and the
                                     17   Property thereunder be sold, according to law, by the Sheriff of the applicable
                                     18   County or a commissioner to be appointed by the Court;
                                     19            3.   That Defendants and all persons claiming under them subsequent to the
                                     20   execution of the Deed of Trust, either as lien claimants, judgment creditors,
                                     21   claimants under a junior trust deed, purchasers, or other encumbrances be barred and
                                     22   foreclosed from all rights, claims, interests, or equity of redemption in the premises,
                                     23   and every part of the Property, when time for redemption has elapsed.
                                     24            4.   That judgment be entered against Defendants for any deficiency that
                                     25   may remain after applying all of the net proceeds of the sale of the Property properly
                                     26   applicable to the satisfaction of said judgment;
                                     27            5.   That TCJ or any other parties to this suit be permitted to become a
                                     28   purchaser at the foreclosure sale;
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                                      1            6.   That when the time for redemption has elapsed, the commissioner or
                                      2   sheriff execute a deed to the purchaser of the Property at the sale, and that the
                                      3   purchaser be let into possession of the Property on production of the commissioner’s
                                      4   or sheriff’s deed;
                                      5            7.   That TCJ be allowed to recover its costs of the suit, and attorneys’ fees
                                      6   in an amount subject to proof; and
                                      7            8.   For such other and further relief as the Court deems proper.
                                      8            On the Fourth Claim:
                                      9            1.   That the Security Agreement be foreclosed;
                                     10            2.   That judgment be entered directly and that the Collateral thereunder be
                                          sold, according to law, by the Sheriff of the applicable County or a commissioner to
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                                     12   be appointed by the Court;
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                                     13            3.   That Defendants and all persons claiming under them subsequent to the
                                     14   execution of the Security Agreement, either as lien claimants, judgment creditors,
                                     15   claimants under a junior trust deed, purchasers, or other encumbrances be barred and
                                     16   foreclosed from all rights, claims, interests, or equity of redemption in the premises,
                                     17   and every part of the Collateral, when time for redemption has elapsed.
                                     18            4.   That judgment be entered against Defendants for any deficiency that
                                     19   may remain after applying all of the net proceeds of the sale of the Collateral
                                     20   properly applicable to the satisfaction of said judgment;
                                     21            5.   That TCJ or any other parties to this suit be permitted to become a
                                     22   purchaser at the foreclosure sale;
                                     23            6.   That when the time for redemption has elapsed, the commissioner or
                                     24   sheriff execute a deed to the purchaser of the Collateral at the sale, and that the
                                     25   purchaser be given possession of the Collateral on production of the commissioner’s
                                     26   or sheriff’s deed;
                                     27            7.   That TCJ be allowed to recover its costs of the suit, and attorneys’ fees
                                     28   in an amount subject to proof; and
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                                                                                 COMPLAINT
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                                      1            8.      For such other and further relief as the Court deems proper.
                                      2            On the Fifth Claim:
                                      3            1.      For the appointment of a receiver to manage, receive, and collect the
                                      4   property in which TCJ holds a security interest to the extent that the same is not in
                                      5   TCJ’s possession, including, without limitation, the proceeds therefrom; and for the
                                      6   receiver to apply the same to the payment of principal and interest owing from
                                      7   Defendants to TCJ in accordance with orders of this Court and the parties’
                                      8   agreements; and to uphold and carry into effect the terms of TCJ’s security interests;
                                      9   and that the receiver have all other powers and duties reasonably necessary to carry
                                     10   out his duties and responsibilities, including, without limitation, authority to sell the
                                          Collateral and Real Property or otherwise.
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                                     12            2.      That a temporary restraining order and preliminary injunction be
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                                     13   entered prohibiting Defendants from:
                                     14                 a. Demanding, collecting, receiving, spending or in any way converting or
                                     15                    using any of the proceeds of the property to which TCJ holds a security
                                     16                    interest;
                                     17                 b. Hiding, secreting, transferring, selling, pledging, granting a security
                                     18                    interest in, or in any other matter disposing or hypothecating any of that
                                     19                    property;
                                     20                 c. Transferring, concealing, destroying, defacing, or altering any of the
                                     21                    instruments, documents, books, records, or any other writings, whether
                                     22                    in hard copy or maintained electronically, relating to the business of
                                     23                    Trimed;
                                     24                 d. Transferring directly or indirectly any interest by sale, shipment of
                                     25                    goods, pledge or grant of security interest, assignment, invoice or
                                     26                    encumbering in any manner the property in which plaintiff holds a
                                     27                    security interest, and any and all proceeds or products thereof; and
                                     28                 e. Withholding true copies of any and all documents and information
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                                                                                    COMPLAINT
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                                      1                 called for by the Master Agreement, including but not limited to
                                      2                 quarterly, monthly and annual balance sheets and income statements,
                                      3                 sales tax remittance forms and federal tax returns on Form 941, signed
                                      4                 Borrowing Base Certificates, bank statements and weekly bank
                                      5                 snapshots, detailed aging reports for Trimed’s accounts receivable and
                                      6                 accounts payable.
                                      7            3.   That TCJ be allowed to recover its costs of the suit, and attorneys’ fees
                                      8   in an amount subject to proof; and
                                      9            4.   For such other and further relief as the Court deems proper.
                                     10
                                          Dated: June 23, 2017                     BRYAN CAVE LLP
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                                                                                   By: /s/ H. Mark Mersel
                                     13
                                                                                       H. Mark Mersel
                                     14                                            By: /s/ David Harford
                                     15                                                David Harford
                                     16
                                                                                   Attorneys for Plaintiff, TCJ I, LLC
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